                                                                                Case 3:14-cr-00175-WHA Document 970 Filed 01/17/19 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
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                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                                No. CR 14-00175 WHA
                                                                                             Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           REQUEST FOR COMMENT
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC
                                                                         13   COMPANY,

                                                                         14                  Defendant.
                                                                                                                          /
                                                                         15
                                                                         16          After a study of the materials provided by PG&E, the Court tentatively finds that the

                                                                         17   single most recurring cause of the large 2017 and 2018 wildfires attributable to PG&E’s

                                                                         18   equipment has been the susceptibility of PG&E’s distribution lines to trees or limbs falling onto

                                                                         19   them during high-wind events. This has most often occurred in rural areas where distribution

                                                                         20   lines use thirty-five to fifty-foot single poles and run through grass, brush, oak and pines. The

                                                                         21   power conductors are almost always uninsulated. When the conductors are pushed together by

                                                                         22   falling trees or limbs, electrical sparks drop into the vegetation below. During the wildfire

                                                                         23   season when the vegetation is dry, these electrical sparks pose an extreme danger of igniting a

                                                                         24   wildfire. By JANUARY 23, all parties shall comment on the accuracy of this tentative finding.

                                                                         25   The parties must also be prepared to discuss this tentative finding at the January 30 hearing.

                                                                         26          IT IS SO ORDERED.

                                                                         27
                                                                         28   Dated: January 17, 2019.
                                                                                                                                       WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
